Case 2:19-cv-00373-APG-EJY Document 293-11 Filed 04/11/22 Page 1 of 4
                          Exhibit 10




                           Exhibit10
     Case 2:19-cv-00373-APG-EJY Document 293-11 Filed 04/11/22 Page 2 of 4




                                           PROCEDURAL HISTORY

        The respondent is a 39-year-old severely battered female, married, native
                                                                                  citizen of

 Mexico who was placed in removal proceedings on October 11, 2018 by Immigra
                                                                             tion Customs

 Enforcement. She is a victim of domestic abuse and rape at the workplace
                                                                          which have severely

 impacted her.




On November 5, 2018, a bond was set for Respondent by Immigra
                                                              tion Judge Nguyen.                         On

December 10, 2018, Respondent's Counsel appeared for a master calendar
                                                                       hearing in Las Vegas

Immigration Court. The matter was re-set for another Master Calenda
                                                                    r hearing on January 28,

2019 at which time relief had been filed with the Court and an Individu
                                                                       al Hearing was set for

April 22, 2019.    On February 2, 2019, Counsel had a close family member pass away.
                                                                                                       As a

result, of Counsel's loss and departure from her practice, Counsel prepared
                                                                            timely a Motion to

Continue the Individual Hearing on March 20, 2019.               No objections were filed by the Trial

Attorney, Maya Timmons or her office.             The Motion was denied for lack of good cause by

Immigration Judge McDermott.




During the Course of Respondent's Counsel representation with Sandra,
                                                                      it has been increasingly

difficult for    Counsel   to   conclude   that    Sandra   is   mentally   stable   to   testify   through

communications, her constant crying and her desperation and fear.




                                                                                     A200-956-354


                                            Page - 2 -




                                                                                01213ÿ
                                                                                PEREZ 556575
                                                                                      001 040
      Case 2:19-cv-00373-APG-EJY Document 293-11 Filed 04/11/22 Page 3 of 4



                                                 ARGUMENT



            During the course of representation of Sandra, Respondent has not always
                                                                                     been
 responsive to her Counsel due to the grave abuse that she has suffered. Respond
                                                                                 ent is unable to

 participate in preparation of her proceedings because she did not have a rational
                                                                                   and factual
 understanding of the nature and object of the proceedings (Matter ofM-A-M, 25
                                                                               I & N Dec.
 474 (BIA 2011).    Moreover, Respondent's attorney is illustrating the inability of that due to the

 abuse during her marriage, alienation, and her assaults and rapes at her workplace,
                                                                                     she needs a
 guardian appointed and thus we request a Mental Competency evaluatio
                                                                      n be completed

 immediately.




                                               CONCLUSION

        In this case, the Respondent has met the burden of proving that she was not
                                                                                    competent by

the abusive history she has undergone.    She is a victim of abuse and it has continued for most of

her life.    Her competency is not intact by her vague statements to Counsel, her crying,
                                                                                          her

remorse, anger and most importantly her hopelessness,           She has been thrown in solitary
confinement in Henderson Detention Center and this cannot be ignored.



        While there is a presumption of competency, Honorable Immigration Judge did
                                                                                    have
knowledge that he was dealing with a victim of abuse and was forewarned
                                                                        by Respondent's
counsel that she cannot comprehend her situation, and as such, the Court has
                                                                             the ability to tailor
the proceedings in order to safeguard the Respondent's rights.      The IJ had the duty to inquire

whether the individual (1) understood the purpose of the proceedings;
                                                                      (2) is capable of
consulting with his or her attorney if there is one, and (3) is given the opportun
                                                                                   ity to examine and

present evidence and cross-examine witnesses.


                                                                                A200-956-354


                                          Page - 4 -




                                                                            01213ÿ556578
                                                                             PEREZ 001042
      Case 2:19-cv-00373-APG-EJY Document 293-11 Filed 04/11/22 Page 4 of 4




and has submitted the following applications for relief: a 42(b) cancellation of removal


application, asylum, withholding and convention against torture. Ms. Perez is also pursuing the

possibility of relief through the grant of a trafficking visa (T Visa).




                         MATERIALLY CHANGED CIRCUMSTANCES

          Mr. Perez is able to testify to the following facts, which establish materially changed


circumstances since her last motion:


     •    Ms. Perez, as discussed above, has been granted a bond of $5,000.00 from the

          immigration court.


     •    Since November 5, 2018, from the grant of the immigration bond, Ms. Perez has been


          unable to secure funds. She is indigent and her family is as well. Unfortunately, the


          $5,000.00 bond may as well as be $20,000.00, as Ms. Perez is unable to afford it.


     •    Since the last immigration hearing, Ms. Perez has been able to secure both her marriage


          certificate and the birth certificate for her spouse that shows his birth in the United States.

          These two documents were previously requested by the immigration court and the lack of


          were part of the determination of bond amount.




                                               ARGUMENT


          Pursuant to 8 C.F.R. § 1003.19(e), if an Immigration Judge has previously ruled in bond


     proceedings, a subsequent request for a bond hearing must be in writing and must show that

     the Respondent's circumstances have changed materially since the last decision. Matter of




                                                                              01213ÿ556567
                                                    3
A# 215 952 281

                                                                              PEREZ 001014
